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                                          13                        UNITED STATES DISTRICT COURT
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                                          14                         CENTRAL DISTRICT OF CALIFORNIA

                                          15                                    WESTERN DIVISION

                                          16
                                          17 ALS SCAN, INC.,                             Case No.: 2:16-cv-05051-GW-AFM
                                          18                    Plaintiff,               SUPPLEMENTAL TRIAL BRIEF
                                                                                         ON SAFE HARBOR ELIGIBILITY
                                          19         v.                                  UNDER 17 U.S.C. 512(B)
                                          20
                                               CLOUDFLARE, INC., et al.,                 Date:         April 30, 2018
                                          21                                             Time:         10:00 AM
                                                                Defendants.              Judge:        Hon. George H. Wu
                                          22                                             Trial Date:   May 1, 2018
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                                           1         At the Court’s request at the final pretrial conference on April 27, 2018,
                                           2 Cloudflare submits this brief to respond to Plaintiff’s latest arguments about
                                           3 Cloudflare’s eligibility for safe harbor protection under 17 U.S.C. § 512(b). As the
                                           4 Court will recall, Cloudflare claims safe harbor protection under both Sections
                                           5 512(a) and 512(b). Cloudflare’s earlier briefing on safe harbor issues in general
                                           6 was in its opposition to ALS’s partial summary judgment motion (Dkt. 376 at
                                           7 pp. 13-25), and its response to ALS’s “trial brief” (Dkt. 502, pp 15-21).
                                           8         Section 512(b) provides safe harbor protection for service providers who,
                                           9 like Cloudflare, perform system caching—that is, “intermediate and temporary
                                          10 storage of material on a system or network controlled or operated by or for the
                                          11 service provider.” 15 U.S.C § 512(b)(1). ALS has argued that the language “users
                                          12 of the system or network” in section 512(b)(1)(c) applies only to persons that
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                                          13 knowingly use the system or network of a service provider, such as subscribers or
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                                          14 account holders of the service provider. According to ALS, because people using
                                          15 Cloudflare’s network to access materials from a Cloudflare customer website may
                                          16 not know that they are using Cloudflare’s network, they are not “users” of
                                          17 Cloudflare’s network, and § 512(b) would therefore not apply. ALS’s position
                                          18 makes no sense, and cannot be reconciled with the plain language of the statute.
                                          19         Section 512 provides no specialized definition for what a “user” is.
                                          20 “When terms used in a statute are undefined, we give them their ordinary meaning.”
                                          21 Hamilton v. Lanning, 130 S. Ct. 2464, 2471 (2010); accord United States v. Daas,
                                          22 198 F.3d 1167, 1174 (9th Cir. 1999). “The word ‘user’ in the DMCA is
                                          23 straightforward and unambiguous.” BWP Media USA, Inc. v. Clarity Digital Grp.,
                                          24 LLC, 820 F.3d 1175, 1179 (10th Cir. 2016). “Simply put, a ‘user’ is ‘one that
                                          25 uses.’” Id. (quoting Merriam–Webster's Collegiate Dictionary 1297 (10th ed.
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                                           1 2001)). 1 Thus, people who use Cloudflare’s system or network, knowingly or not,
                                           2 are “users.”
                                           3             The DMCA does not contemplate any limitations on the term “user” to apply
                                           4 only to persons, like account holders, who knowingly use a specific service
                                           5 provider or have a formal relationship with a service provider. To the contrary,
                                           6 when Congress intended a narrower scope, it used different language; for instance,
                                           7 the DMCA expressly distinguishes between “users” of a network or system, on the
                                           8 one hand, and “subscribers and account holders of the service provider’s system or
                                           9 network,” on the other. See 17 U.S.C. § 512(i)(1)(A) (conditioning safe harbor
                                          10 eligibility on whether a service provider “has adopted and reasonably implemented,
                                          11 and informs subscribers and account holders of the service provider’s system or
                                          12 network of, a policy that provides for the termination in appropriate circumstances
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                                          13 of subscribers and account holders of the service provider’s system or network who
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                                          14 are repeat infringers”) (emphases added).
                                          15             Section 512(b)(1) defines a cast of characters involved in system caching:
                                          16 (A) a website that makes materials available online, (B) a system provider through
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                                               1
                                          19     BWP addressed § 512(c). There, the Tenth Circuit agreed with the district court
                                               that, in context of § 512(c) safe harbor provision, a “‘user’ describes a person or
                                          20   entity who avails itself of the service provider’s system or network to store
                                          21   material.” ALS may argue that the Ninth Circuit’s decision in Mavrix Photographs,
                                               LLC v. Livejournal, Inc., 873 F.3d 1045 (9th Cir. 2017), rejected BWP’s plain
                                          22   meaning of the term “user.” But Mavrix dealt with a different question than the one
                                          23   at issue here: whether people working on behalf of the service provider counted as
                                               were “users” or counted as the service provider itself, reasoning that the statute
                                          24   distinguishes between service providers and users of the service provider. In
                                          25   particular, it concerned whether the acts of “moderators in screening and posting
                                               users’ submissions” who worked for the service provider could be attributed to the
                                          26   service provider. 873 F.3d at 1053. The distinction in Mavrix between actions of
                                          27   “users” and the service provider itself has no bearing on the question here. Nothing
                                               in Mavrix suggests that “users” must have knowledge of the system or network they
                                          28   are using.
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                                           1 which the website transmits information to another person, and (C) persons who
                                           2 request access to the materials from the website.
                                           3             First, § 512 (b)(1)(A) requires that “the material is made available online by a
                                           4 person other than the service provider.” In the allegations in this case, that would be
                                           5 one of the websites accused of making the material available online, like imgchili.
                                           6             Second, § 512 (b)(1)(B) requires that “the material is transmitted from the
                                           7 person described in subparagraph (A)” (again, someone other than Cloudflare, like
                                           8 imgchili) “through the system or network” (here, Cloudflare’s network) “to a
                                           9 person other than the person described in subparagraph (A)” (here, someone
                                          10 visiting the imgchili website) “at the direction of that other person” (again, this
                                          11 would be a visitor to imgchili).
                                          12             Third, § 512 (b)(1)(C) requires that “the storage is carried out through an
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                                          13 automatic technical process for the purpose of making the material available to
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                                          14 users of the system or network who, after the material is transmitted as described in
                                          15 subparagraph (B) request access to the material from the person described in
                                          16 subparagraph (A)” (again, someone other than Cloudflare, like imgchili).2
                                          17             Section 512(b)(2), with its discussion of “subsequent users described in
                                          18 paragraph 1(C),” further confirms that these “users” are persons who request access
                                          19 to the material from the website that made it available online, which must be
                                          20 someone “other than the service provider.” But Plaintiff argues the opposite,
                                          21 claiming that a “user” must be someone who requests material from Cloudflare.
                                          22 That simply cannot be reconciled with the requirement that the material be made
                                          23 available by someone other than the service provider, and that the user is someone
                                          24 who requests material from that other website.
                                          25
                                          26   2
                                               Whether a cached version of an asset appears in a Cloudflare caching server
                                          27 depends on several factors, including whether the initial request for an asset went
                                             through that same data center as subsequent requests, whether caching is enabled by
                                          28 the originating site, and how much time has passed between requests from users.

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                                           1             The legislative history of the DMCA is also consistent with the plain
                                           2 language meaning of a “user.” It reflects that a user is a person requesting material
                                           3 from the originating website, who may have no knowledge that he is using a
                                           4 particular service provider as an intermediary. In describing caching services, the
                                           5 Senate Report notes that caching “storage is intermediate in the sense that the
                                           6 service provider serves as an intermediary between the originating site and ultimate
                                           7 user.” S. Rep. 105-190 at 42 (1998) (emphasis added). The Senate Report
                                           8 continues: “For subsection (b) to apply, the material must be made available on an
                                           9 originating site, transmitted at the direction of another person through the system or
                                          10 network operated by or for the service provider to a different person, and stored
                                          11 through an automatic technical process so that users of the system or network who
                                          12 subsequently request access to the material from the originating site may obtain
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                                          13 access to the material from the system or network.” Id. (emphasis added).
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                                          14             In short, there is no legal or logical support for ALS’s interpretation of the
                                          15 safe harbor for system caching under section 512(b). ALS ignores the plain text of
                                          16 the DMCA, contradicts its legislative history, and evinces ignorance of what
                                          17 caching services are and how they operate. As it was in 1998, the Internet is a
                                          18 decentralized network of networks and connections; that a visitor to a website may
                                          19 be unaware of the different systems or networks through which his or her requests
                                          20 get routed does not make the visitor any less a “user” of those systems or networks.
                                          21 The Court should reject ALS’s misreading of the statute, and it should accordingly
                                          22 adopt Cloudflare’s proposed jury instruction number 48. See Dkt. 460 at 46-48.3
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                                              This brief focuses on the safe harbor under § 512(b), as the Court and the parties
                                          26 have not recently focused on the safe harbor under § 512(a). That provision also
                                          27 applies to Cloudflare, and ALS’s arguments against that safe harbor fail for the
                                             same reasons that its argument fails here. That safe harbor has similar uses of the
                                          28 same words.

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                                          1 Dated: April 28, 2018                        Respectfully submitted,
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                                          3
                                          4                                              By: /s/ Andrew P. Bridges
                                          5                                                 Andrew P. Bridges

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                                          7                                              CLOUDFLARE, INC.

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